     Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 1 of 12




                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



 IN RE: FTX CRYPTOCURRENCY                          MDL No. 3076
 EXCHANGE COLLAPSE LITIGATION



                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the Judicial Panel on

Multidistrict Litigation, I hereby certify that, on March 3, 2023, I caused Notice of Appearance of

Laurence D. King to be electronically filed using the Court’s electronic case filing (CM/ECF) system

and served on all counsel or parties in the manners indicated as follows.


Dated: March 3, 2023                         Respectfully submitted,

                                             /s/ Marshal J. Hoda
                                             Marshal J. Hoda
                                             marshal@thehodalawfirm.com
                                             THE HODA LAW FIRM, PLLC
                                             12333 Sowden Road, Suite B, PMB 51811
                                             Houston, Texas 77080
                                             Telephone: (832) 848-0036
                                             Facsimile: (832) 941-0386

                                             Counsel for Plaintiff Stephen Pierce
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 2 of 12




                                        SERVICE LIST
Via Email                                     Via Email

William M. Audet                              Jennifer Pafiti
Ling Y. Kuang                                 jpafiti@pomlaw.com
Kurt D. Kessler                               POMERANTZ LLP
waudet@audetlaw.com                           1100 Glendon Avenue, 15th Floor
lkuang@audetlaw.com                           Los Angeles, California 90024
kkessler@audetlaw.com                         Telephone: (310) 405-7190
AUDET & PARTNERS, LLP
711 Van Ness Avenue, Suite 500                Jeremy A. Lieberman
San Francisco, CA 94102-3275                  jalieberman@pomlaw.com
Telephone: (415) 568-2555                     J. Alexander Hood II
Facsimile: (415) 568-2556                     ahood@pomlaw.com
                                              POMERANTZ LLP
Robert L. Lieff                               600 Third Avenue, 20th Floor
rlieff@lieff.com                              New York, New York 10016
P.O. Drawer A                                 Telephone: (212) 661-1100
Rutherford, California 94573                  Facsimile: (917) 463-1044

Edward Lehman                                 Peretz Bronstein
elehman@lehmanlaw.com                         peretz@bgandg.com
Jacob Blacklock                               Eitan Kimelman
jblacklock@lehmanlaw.com                      eitank@bgandg.com
LEHMAN, LEE & XU LLC                          BRONSTEIN, GEWIRTZ & GROSSMAN,
c/o LEHMAN, LEE & XU                          LLC
Suite 3313, Tower One, Times                  60 East 42nd Street, Suite 4600
Square 1 Matheson Street,                     New York, New York 10165
Causeway Bay, Hong Kong                       Telephone: (212) 697-6484
Telephone: (852) 3588-2127                    Facsimile: (212) 697-7296
Facsimile: (852) 3588-2088
                                              Counsel for Plaintiff Russell Hawkins
Counsel for Plaintiff Elliott Lam             Hawkins v. Bankman-Fried, et al., No. 3:22-
Lam v. Bankman-Fried, No. 22-cv-7336-         cv-07620-JSC (N.D. Cal.)
JSC (N.D. Cal.)
Via Email                                     Via Email

Rafey S. Balabanian                           Laurence D. King
rbalabanian@edelson.com                       lking@kaplanfox.com
Todd Logan                                    Kathleen A. Herkenhoff
tlogan@edelson.com                            kherkenhoff@kaplanfox.com
Yaman Salahi                                  Blair E. Reed
ysalahi@edelson.com                           breed@kaplanfox.com
P. Solange Hilfinger-Pardo                    KAPLAN FOX & KILSHEIMER LLP
shilfingerpardo@edelson.com                   1999 Harrison Street, Suite 1560
EDELSON PC                                    Oakland, California 94612
150 California Street, 18th Floor             Telephone: (415) 772-4700
San Francisco, California 94111               Facsimile: (415) 772-4707
Tel: 415.212.9300
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 3 of 12


Fax: 415.373.9435                          Frederic S. Fox
                                           ffox@kaplanfox.com
Counsel for Plaintiff Michael Jessup       Joel B. Strauss
Jessup v. Samuel Bankman-Fried, No. 22-    jstrauss@kaplanfox.com
cv-7666-JSC (N.D. Cal.)                    Jeffrey P. Campisi
                                           jcampisi@kaplanfox.com
                                           KAPLAN FOX & KILSHEIMER LLP
                                           800 Third Avenue
                                           New York, New York 10022
                                           Telephone: (212) 687-1980
                                           Facsimile: (212) 687-7714

                                           Counsel for Plaintiff Julie Papadakis, Papadakis v.
                                           Bankman-Fried, No. 3:23-cv-00024-JSC (N.D.
                                           Cal.)
Via Email                                  Via Email

Adam M. Moskowitz                          Adam M. Moskowitz
Joseph M. Kaye                             Joseph M. Kaye
The Moskowitz Law Firm, PLLC               The Moskowitz Law Firm, PLLC
2 Alhambra Plaza, Suite 601                2 Alhambra Plaza, Suite 601
Coral Gables, FL 33134-6036                Coral Gables, FL 33134-6036
305-740-1423                               305-740-1423
adam@moskowitz-law.com                     adam@moskowitz-law.com
joseph@moskowitz-law.com                   joseph@moskowitz-law.com

Jose Manuel Ferrer                         Stephen N. Zack
Mark Migdal and Hayden                     Ursula Ungaro
80 SW 8 Street Suite 1999                  Tyler Evan Ulrich
Miami, FL 33131                            Boies Schiller & Flexner
305-374-0440                               100 SE 2nd Street Suite 2800
jose@markmigdal.com                        Miami, FL 33131-2144
                                           305-539-8400
Stephen N. Zack                            305-539-1307
Ursula Ungaro                              szack@bsfllp.com
Boies Schiller & Flexner                   uungaro@bsfllp.com (Inactive)
100 SE 2nd Street Suite 2800               tulrich@bsfllp.com
Miami, FL 33131-2144
305-539-8400                               Alexander Boies
305-539-1307                               David Boies
szack@bsfllp.com                           Boies Schiller Flexner LLP
uungaro@bsfllp.com (Inactive)              333 Main Street
                                           Armonk, NY 10504
Alexander Boies                            914-749-8200
David Boies                                aboies@bsfllp.com
Boies Schiller Flexner LLP                 dboies@bsfllp.com
333 Main Street
Armonk, NY 10504                           Counsel for Plaintiffs
914-749-8200                               Garrison et al v. Bankman-Fried et al, No.
aboies@bsfllp.com                          1:22-cv-23753-KMM (S.D. Fla.)
dboies@bsfllp.com
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 4 of 12


Counsel for Plaintiffs
Norris et al v. Brady et al, No. 1:23-cv-
20439-KMM (S.D.Fla.)
Via Email                                    Via Email

Adam M. Moskowitz                            Adam E. Polk
Joseph M. Kaye                               Daniel C. Girard
The Moskowitz Law Firm, PLLC                 Girard Sharp LLP
2 Alhambra Plaza, Suite 601                  601 California Street Suite 1400
Coral Gables, FL 33134-6036                  San Francisco, CA 94108
305-740-1423                                 415-981-4800
adam@moskowitz-law.com                       apolk@girardsharp.com
joseph@moskowitz-law.com                     dgirard@girardsharp.com

Stephen N. Zack                              Jason S Hartley
Ursula Ungaro                                Hartley LLP
Tyler Evan Ulrich                            101 West Broadway Suite 820
Boies Schiller & Flexner                     San Diego, CA 92101
100 SE 2nd Street Suite 2800                 619-400-5822
Miami, FL 33131-2144                         619-400-5832
305-539-8400                                 hartley@hartleyllp.com
305-539-1307
szack@bsfllp.com                             Jason M. Lindner
uungaro@bsfllp.com (Inactive)                Stueve Siegel Hanson LLP
tulrich@bsfllp.com                           550 West C Street
                                             Suite 610
Alexander Boies                              San Diego, CA 92101
David Boies                                  619-400-5822
Boies Schiller Flexner LLP                   619-400-5832
333 Main Street                              lindner@stuevesiegel.com (Inactive)
Armonk, NY 10504
914-749-8200                                 Makenna Cox
aboies@bsfllp.com                            601 California Street, Suite 1400
dboies@bsfllp.com                            San Francisco, CA 94108
                                             415-981-4800
Counsel for Plaintiffs                       mcox@girardsharp.com
Podalsky et al v. Bankman-Fried et al, No.
1:22-cv-23983-KMM (S.D. Fla.)                Counsel for Plaintiffs
                                             Gonzalez v. Silvergate Bank et al, No. 3:22-
                                             cv-01981-BEN-WVG (S.D. Cal.)
Via Email                                    Via Email

Caroline S. Emhardt                          Brandon Scott Floch
Jack Fitzgerald                              Jeffrey Eldridge Marcus
Melanie Rae Persinger                        Michael Anthony Pineiro
Paul K. Joseph                               Marcus Neiman Rashbaum & Pineiro LLP
Fitzgerald Joseph LLP                        2 South Biscayne Blvd., Suite 2530
Trevor Matthew Flynn                         Miami, FL 33131
2341 Jefferson Street, Suite 200             305-434-4943
San Diego, CA 92110                          bfloch@mnrlawfirm.com
619-215-1741                                 jmarcus@mnrlawfirm.com
caroline@fitzgeraldjoseph.com                mpineiro@mnrlawfirm.com
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 5 of 12


jack@fitzgeraldjoseph.com
melanie@fitzgeraldjoseph.com                   Jeffrey Adam Neiman
paul@fitzgeraldjoseph.com                      Neiman & Rashbaum LLP
trevor@fitzgeraldjoseph.com                    100 Southeast Third Avenue, Suite 805
                                               Fort Lauderdale, FL 33394
James M. Davis, IV                             954-462-1200
Casey Gerry LLP                                954-688-2492
110 Laurel Street                              jneiman@mnrlawfirm.com
San Diego, CA 92101
619-238-1811                                   Andrew B. Brettler
619-544-9232                                   Berk Brettler LLP
jdavis@cglaw.com (Inactive)                    9119 Sunset Blvd.
                                               West Hollywood, CA 90069
Thomas Joseph O'Reardon, II                    310-278-2111
Timothy G. Blood                               abrettler@berkbrettler.com
Blood Hurst & O'Reardon, LLP
501 West Broadway, Suite 1490                  Counsel for Defendant Kevin O'Leary
San Diego, CA 92101                            Norris et al v. Brady et al, No. 1:23-cv-
619-338-1100                                   20439-KMM (S.D. Fla.); Garrison et al
619-338-1101                                   v.Bankman-Fried et al, No. 1:22-cv-23753-
toreardon@bholaw.com                           KMM (S.D. Fla.); Podalsky et al
tblood@bholaw.com                              v.Bankman-Fried et al, No. 1:22-cv-23983-
                                               KMM (S.D. Fla.)
Counsel for Plaintiffs
Sepulveda Zuleta et al v. Silvergate Capital
Corporation et al, No.: 3:22-cv-01901-
BEN-WVG (S.D.Cal.)
Via Email                                      Via Email

Stephanie Anne Casey                           Christopher Stephen Carver
Zachary Andrew Lipshultz                       Akerman LLP
Colson Hicks Eidson                            Three Brickell City Centre Suite 1100
255 Alhambra Circle, PH                        98 Southeast Seventh Street
Coral Gables, FL 33134                         Miami, FL 33131
305-476-7400                                   305-982-5572
305-476-7444                                   305-374-5095
scasey@colson.com                              christopher.carver@akerman.com
zach@colson.com
                                               Jason Samuel Oletsky
Andrew B. Clubok                               Katherine Ann Johnson
Brittany M.J. Record                           Akerman LLP
Susan E. Engel                                 201 East Las Olas Boulevard Ste 1800
Latham & Watkins LLP                           Fort Lauderdale, FL 33301
555 Eleventh Street, NW, Suite 1000            954-759-8909
Washington, DC 20004                           954-463-2224
202-637-2200                                   jason.oletsky@akerman.com
andrew.clubok@lw.com                           Katie.johnson@akerman.com
Brittany.Record@lw.com
Susan.Engel@lw.com                             Counsel for Defendant David Ortiz
                                               Norris et al v. Brady et al, No. 1:23-cv-
Elizabeth A. Greenman                          20439-KMM (S.D. Fla.); Garrison et al v.
Jessica Stebbins Bina                          Bankman-Fried et al, No. 1:22-cv-23753-
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 6 of 12


Marvin Putnam                                KMM (S.D. Fla.); Podalsky et al v. Bankman-
Latham & Watkins LLP                         Fried et al, No. 1:22-cv-23983-KMM (S.D.
10250 Constellation Blvd., Suite 1100        Fla.)
Los Angeles, CA 90067                        __________________________________________
424-653-5500
Elizabeth.Greenman@lw.com                    Via Email
Jessica.stebbinsbina@lw.com
Marvin.Putnam@lw.com                         c/o Stephanie Avakian
                                             Wilmer Hale
Michele D. Johnson                           2100 Pennsylvania Avenue NW Washington
Latham & Watkins LLP                         DC 20037
650 Town Center Drive, 20th Floor            Phone: 202-663-6471
Costa Mesa, CA 92626                         stephanie.avakian@wilmerhale.com
714-540-1235
michele.johnson@lw.com                       Via U.S. Mail

Roberto Martinez                             327 Franklin Street
Colson Hicks Eidson                          Newton, MA 02458
255 Alhambra Circle                          Defendant Caroline Ellison
Penthouse
Coral Gables, FL 33134-2351                  Garrison et al v. Bankman-Fried et al, No.
305-476-7400                                 1:22-cv-23753-KMM (S.D. Fla.); Podalsky
476-7444                                     et al v. Bankman-Fried et al, No. 1:22-cv-
bob@colson.com                               23983-KMM (S.D. Fla.) Papadakis v.
                                             Bankman-Fried et al, No. 3:23-CV-00024-
Counsel for Defendant Thomas Brady           JSC (N.D. Cal.); Jessup v. Bankman-Fried
Norris et al v. Brady et al, No. 1:23-cv-    et al, No. 3:22-cv-07666-JSC (N.D. Cal.);
20439-KMM (S.D. Fla.); Garrison et al v.     Hawkins v. Bankman-Fried et al, No. 3:22-
Bankman-Fried et al, No. 1:22-cv-23753-      cv-07620-JSC (N.D. Cal.), Pierce et al v.
KMM (S.D. Fla.); Podalsky et al              Bankman-Fried et al, No. 3:22-cv-07444-
v.Bankman-Fried et al, No. 1:22-cv-23983-    JSC (N.D. Cal.); Lam et al v. Bankman-
KMM (S.D. Fla.)                              Fried, No. 3:22-cv-07336-JSC

Counsel for Defendant Gisele Bundchen
Garrison et al v. Bankman-Fried et al, No.
1:22-cv-23753-KMM (S.D. Fla.); Podalsky
et al v. Bankman-Fried et al, No. 1:22-cv-
23983-KMM (S.D. Fla.)

Counsel for Defendant Lawrence Gene David
Garrison et al v. Bankman-Fried et al, No.
1:22-cv-23753-KMM (S.D. Fla.); Podalsky
et al v. Bankman-Fried et al, No. 1:22-cv-
23983-KMM (S.D. Fla.)
Via Email                                    Via Email

David Alan Rothstein                         Jeremy D. Mishkin
Alexander Manuel Peraza                      Montgomery McCracken Walker & Rhoads
Eshaba Jahir-Sharuz                          LLP
Dimond Kaplan & Rothstein                    1735 Market Street
2665 South Bayshore Drive, PH-2B             Philadelphia, PA 19103-7505
Coconut Grove, FL 33133                      Direct: 215-772-7246
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 7 of 12


305-374-1920                                   jmishkin@mmwr.com
Fax: 374-1961
Email: drothstein@dkrpa.com                    Counsel for Defendant Samuel Bankman-
Email: aperaza@dkrpa.com                       Fried
Email: eshaba@dkrpa.com                        Garrison et al v. Bankman-Fried et al, No.
                                               1:22-cv-23753-KMM (S.D. Fla.); Podalsky
Eric A. Fitzgerald                             et al v. Bankman-Fried et al, No. 1:22-cv-
Hillary N. Ladov                               23983-KMM (S.D. Fla.); Papadakis v.
McAngus Goudelock & Courie LLC                 Bankman-Fried et al, No. 3:23-cv-00024-
2000 Market Street, Suite 780                  JSC (N.D. Cal.); Jessup v. Bankman-Fried
Philadelphia, PA 19103                         et al, No. 3:22-cv-07666-JSC (N.D. Cal.)
(484) 406-4334                                 Hawkins v. Bankman-Fried et al, No. 3:22-
Email: eric.fitzgerald@mgclaw.com              cv-07620-JSC (N.D. Cal.), Pierce et al v.
Email: hillary.ladov@mgclaw.com                Bankman-Fried et al, No. 3:22-CV-07444-
                                               JSC (N.D. Cal.)
Counsel for Defendant William Trevor
Lawrence

Garrison et al v. Bankman-Fried et al, No.
1:22-cv-23753-KMM (S.D. Fla.); Podalsky
et al v. Bankman-Fried et al, Case No. 1:22-
cv-23983-KMM (S.D. Fla.)
Via Email                                      Via U.S. Mail

Gibson, Dunn & Crutcher LLP                    4012 Sahara Ct,
Matthew S. Kahn                                Carrollton, TX 75010
555 Mission Street
San Francisco, CA 94105-0921                   Defendant Shaquille O’Neal
Tel: 415.393.8212                              Garrison et al v. Bankman-Fried et al, No.
Fax: 415.374.8466                              1:22-cv-23753-KMM (S.D. Fla.); Podalsky
MKahn@gibsondunn.com                           et al v. Bankman-Fried et al, No. 1:22-cv-
                                               23983-KMM (S.D. Fla.)
Counsel for Defendant Golden State
Warriors, LLC
Garrison et al v. Bankman-Fried et al, No.
1:22-cv-23753-KMM (S.D. Fla.); Podalsky
et al v. Bankman-Fried et al, No. 1:22-cv-
23983-KMM (S.D. Fla.); Lam et al v.
Bankman-Fried, No. 3:22-cv-07336-JSC
Via U.S. Mail                                  Via U.S. Mail

1 Warriors Way                                 2000 Gene Autry Way
San Francisco, CA 94158                        Anaheim, California, 92806

Defendant Stephen Curry                        Defendant Shohei Ohtani
Garrison et al v. Bankman-Fried et al, No.     Garrison et al v. Bankman-Fried et al, No.
1:22-cv-23753-KMM (S.D. Fla.); Podalsky        1:22-cv-23753-KMM (S.D. Fla.); Podalsky
et al v. Bankman-Fried et al, Case No. 1:22-   et al v. Bankman-Fried et al, No. 1:22-cv-
cv-23983-KMM (S.D. Fla.)                       23983-KMM (S.D. Fla.)
Via U.S. Mail                                  Via U.S. Mail

5450 SW 192nd Terrace                          36 Winner Circle,
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 8 of 12


Southwest Ranches, Florida 33332                   Wells ME 04090-5174

Defendant Udonis Haslem                            Defendant Sam Trabucco
Garrison et al v. Bankman-Fried et al, No.         Garrison et al v. Bankman-Fried et al, No.
1:22-cv-23753-KMM (S.D. Fla.); Podalsky            1:22-cv-23753-KMM (S.D. Fla.); Podalsky
et al v. Bankman-Fried et al, No. 1:22-cv-         et al v. Bankman-Fried et al, No. 1:22-cv-
23983-KMM (S.D. Fla.)                              23983-KMM (S.D. Fla.); Jessup v.
                                                   Bankman-Fried et al, No. 3:22-cv-07666-
                                                   JSC (N.D. Cal.)
Via U.S. Mail                                      Via U.S. Mail

9621 Arby Dr.                                      746 Jennifer Way
Beverly Hills, California, 90210                   Milpitas, CA 95035

Defendant Naomi Osaka                              Defendant Nishad Singh
Garrison et al v. Bankman-Fried et al, No.         Garrison et al v. Bankman-Fried et al, No.
1:22-cv-23753-KMM (S.D. Fla.); Podalsky et al v.   1:22-cv-23753-KMM (S.D. Fla.); Podalsky
Bankman-Fried et al, No. 1:22-cv-                  et al v. Bankman-Fried et al, No. 1:22-cv-
23983-KMM (S.D. Fla.)                              23983-KMM (S.D. Fla.); Papadakis v.
                                                   Bankman-Fried et al, No. 3:23-cv-00024-
                                                   JSC (N.D. Cal.); Jessup v. Bankman-Fried
                                                   et al, No. 3:22-cv-07666-JSC (N.D. Cal.);
                                                   Hawkins v. Bankman-Fried et al,No. 3:22-
                                                   CV-07620-JSC (N.D. Cal.), Pierce et al v.
                                                   Bankman-Fried et al, No. 3:22-cv-07444-
                                                   JSC (N.D. Cal.)
Via Email                                          Via Email

c/o Alex B. Miller                                 Ann Marie Mortimer
Fried Frank                                        Kirk Austin Hornbeck
One New York Plaza                                 Hunton Andrews Kurth LLP
New York, New York 10004                           550 South Hope Street, Suite 2000
                                                   Los Angeles, CA 90071
T: 212.859.8000
                                                   213-532-2103
alex.miller@friedfrank.com
                                                   amortimer@HuntonAK.com
                                                   khornbeck@HuntonAK.com
Via U.S. Mail
                                                   Thomas Richard Waskom
304 Island Lane                                    Hunton Andrews Kurth LLP
Egg Harbor Township, NJ 08234                      951 East Byrd St.
                                                   Richmond, VA 23219
Defendant Zixiao Gary Wang                         804-788-8403
Garrison et al v. Bankman-Fried et al, No.         twaskom@HuntonAK.com
1:22-cv-23753-KMM (S.D. Fla.); Podalsky
et al v. Bankman-Fried et al, No. 1:22-cv-         Counsel for Defendant Armanino LLP
                                                   Papadakis v. Bankman-Fried et al, No.3:23-
23983-KMM (S.D. Fla.); Papadakis v.                cv-00024-JSC (N.D. Cal.); Hawkins v.
Bankman-Fried et al, No. 3:23-cv-00024-            Bankman-Fried et al, No. 3:22-cv-07620-
JSC (N.D. Cal.); Jessup v. Bankman-Fried           JSC (N.D. Cal.), Pierce et al v. Bankman-
et al, No. 3:22-cv-07666-JSC (N.D. Cal.);          Fried et al, No. 3:22-cv-07444-JSC (N.D.
Hawkins v. Bankman-Fried et al, No. 3:22-          Cal.)
CV-07620-JSC (N.D. Cal.), Pierce et al v.
Bankman-Fried et al, No. 3:22-CV-07444-
JSC (N.D. Cal.)
          Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 9 of 12


Via U.S. Mail                                Via Email

1133 Bigelow Ave N                           John Michael Landry
Seattle, WA 98109-3208                       Madalyn Annabel Macarr
                                             Polly Towill
Defendant Dan Friedberg                      Sheppard Mullin Richter & Hampton
Garrison et al v. Bankman-Fried et al, No.   333 South Hope Street, 43rd Floor
1:22-cv-23753-KMM (S.D. Fla.); Podalsky      Los Angeles, CA 90071
et al v. Bankman-Fried et al, No. 1:22-cv-   213-620-1780
23983-KMM (S.D. Fla.)                        213-620-1398
                                             jlandry@sheppardmullin.com
                                             mmacarr@sheppardmullin.com
                                             ptowill@sheppardmullin.com

                                             Counsel for Defendant Silvergate Bank
                                             Gonzalez v. Silvergate Bank et al, No. 3:22-
                                             cv-01981-BEN-WVG (S.D. Cal.); Husary et
                                             al v. Silvergate Bank et al, No. 3:23-cv-
                                             00038-BEN-WVG (S.D. Cal.)

                                             Counsel for Defendant Silvergate Capital
                                             Corporation
                                             Gonzalez v. Silvergate Bank et al, No.
                                             3:22-cv-01981-BEN-WVG (S.D. Cal.);
                                             Husary et al v. Silvergate Bank et al, No.
                                             3:23-cv-00038-BEN-WVG (S.D. Cal.);
                                             Sepulveda Zuleta et al v. Silvergate
                                             Capital Corporation et al, No.: 3:22-cv-
                                             01901-BEN-WVG (S.D. Cal.):

                                             Counsel for Defendant Alan J. Lane
                                             Gonzalez v. Silvergate Bank et al, No. 3:22-
                                             cv-01981-BEN-WVG (S.D. Cal.); Husary et
                                             al v. Silvergate Bank et al, No. 3:23-cv-
                                             00038-BEN-WVG (S.D. Cal.); Sepulveda
                                             Zuleta et al v. Silvergate Capital
                                             Corporation et al, No.: 3:22-cv-01901-
                                             BEN-WVG (S.D. Cal.):

                                             Counsel for Defendants Christopher M. Lane,
                                             Tyler J. Pearson, and Jason Brenier
                                             Sepulveda Zuleta et al v. Silvergate Capital
                                             Corporation et al, No.: 3:22-cv-01901-
                                             BEN-WVG (S.D. Cal.):
Via Email                                    Via Third Party Legal Service

Bruce Roger Braun                            c/o Registered Agent - The Corporation Trust
Joanna Rubin Travalini                       Company
Tommy Hoyt                                   Corporation Trust Center
Sidley Austin LLP                            1209 Orange St.
One South Dearborn Street                    Wilmington, DE 19801
Chicago, IL 60603
312-853-2077                                 Defendant Sequoia Capital Operations, LLC
bbraun@sidley.com                            O’Keefe v. Sequoia Capital Operations,
jtravalini@sidley.com                        LLC et al, No. 1:23-cv-20700-JEM (S.D.
thoyt@sidley.com                             Fla)
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 10 of 12


Sarah Alison Hemmendinger                   Via Third Party Legal Service
Sidley Austin LLP
555 California Street, Suite 2000           c/o Registered Agent - CT Corporation
San Francisco, CA 94104                     System
415-772-7413                                330 N. Brand Blvd., Ste. 700,
415-772-7400                                Glendale, CA 91203
shemmendinger@sidley.com
                                            Defendant Silvergate Bank
Counsel for Defendant Prager Metis CPAs     O’Keefe v. Sequoia Capital Operations,
LLC                                         LLC et al, No. 1:23-cv-20700-JEM (S.D.
Papadakis v. Bankman-Fried et al, No.       Fla)
3:23-cv-00024-JSC (N.D. Cal.); Hawkins v.
Bankman-Fried et al, No. 3:22-cv-07620-
JSC (N.D. Cal.), Pierce et al v. Bankman-
Fried et al, No. 3:22-cv-07444-JSC (N.D.
Cal.)
Via Email                                   Via U.S. Mail

Amy Michelle Bowers                         565 Fifth Avenue
Jorge A. Perez Santiago                     New York, NY 70017
Timothy Andrew Kolaya
Stumphauzer Foslid Sloman Ross & Kolaya,    Defendant Signature Bank
PLLC                                        O’Keefe v. Sequoia Capital Operations,
2 South Biscayne Boulevard, Suite 1600      LLC et al, No. 1:23-cv-20700-JEM (S.D.
Miami, FL 33131                             Fla)
305-614-1404
Fax: 305-614-1425                           _____________________________________________
abowers@sfslaw.com
jperezsantiago@sknlaw.com                   Via Third Party Legal Service
tkolaya@sknlaw.com
                                            c/o Registered Agent - CT Corporation
Benjamin D. Reichard                        System
C. Hogan Paschal                            28 Liberty Street
James R. Swanson                            New York, NY 10005
Kerry James Miller
Monica Bergeron                             Defendant Thoma Bravo L.P.
                                            O’Keefe v. Sequoia Capital Operations,
Fishman Haygood L.L.P.                      LLC et al, No. 1:23-cv-20700-JEM (S.D.
201 St. Charles Avenue, 46th Floor          Fla)
New Orleans, LA 70170
(504) 586-5252
breichard@fishmanhaygood.com
hpaschal@fishmanhaygood.com
jswanson@fishmanhaygood.com
kmiller@fishmanhaygood.com
mbergeorn@fishmanhaygood.com

Counsel for Plaintiff O’Keefe
O’Keefe v. Sequoia Capital Operations,
LLC et al, No. 1:23-cv-20700-JEM (S.D.
Fla)
Via U.S. Mail                               Via Third Party Legal Service

Deltec House, Lyford Cay                    c/o Registered Agent - Corporation Service
Nassau, Bahamas                             Company
                                            251 Little Falls Drive
         Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 11 of 12


Defendant Deltec Bank and Trust Company        Wilmington, DE 19808
Limited
O’Keefe v. Sequoia Capital Operations,         Defendant Temasek Holdings (Private)
LLC et al, No. 1:23-cv-20700-JEM (S.D.         Limited
Fla)                                           O’Keefe v. Sequoia Capital Operations,
                                               LLC et al, No. 1:23-cv-20700-JEM (S.D.
                                               Fla)
Via Third Party Legal Service                  Via U.S. Mail

c/o Registered Agent - Cogency Global, Inc.    501 West Ave., Apt. 3803
850 New Burton Road, Suite 201                 Austin, TX 78701
Dover, DE 19904
                                               Defendant Multicoin Capital Management
Defendant Paradigm Operations LP               LLC
O’Keefe v. Sequoia Capital Operations,         O’Keefe v. Sequoia Capital Operations,
LLC et al, No. 1:23-cv-20700-JEM (S.D.         LLC et al, No. 1:23-cv-20700-JEM (S.D.
Fla)                                           Fla)

Via Third Party Legal Service                  Via U.S. Mail

c/o Registered Agent - Corporation Service     c/o Matthew Graham
Company                                        Chaoyang, Beijing, Beijing Shi, 100125,
251 Little Falls Drive                         China
Wilmington, DE 19808
                                               Defendant Sino Global Capital Limited
Defendant Softbank Vision Fund (AIV M2)        O’Keefe v. Sequoia Capital Operations,
L.P.                                           LLC et al, No. 1:23-cv-20700-JEM (S.D.
O’Keefe v. Sequoia Capital Operations,         Fla)
LLC et al, No. 1:23-cv-20700-JEM (S.D.
Fla)
Via Third Party Legal Service                  Via U.S. Mail

c/o Registered Agent - The Corporation Trust   14 Penn Plaza, Suite 1800
Company                                        New York, NY 10121
Corporation Trust Center
1209 Orange St.                                Defendant Prager Metis CPAs, LLC
Wilmington, DE 19801                           O’Keefe v. Sequoia Capital Operations,
                                               LLC et al, No. 1:23-cv-20700-JEM (S.D.
Defendant Altimeter Capital Management, LP     Fla)
O’Keefe v. Sequoia Capital Operations,
LLC et al, No. 1:23-cv-20700-JEM (S.D.
Fla)
Via Third Party Legal Service                  Via U.S. Mail

c/o Registered Agent - Corporation Service     12657 Alcosta Blvd, Suite 500
Company                                        San Ramon, CA 94583
251 Little Falls Drive
Wilmington, DE 19808                           Defendant Armanino, LLP
                                               O’Keefe v. Sequoia Capital Operations,
Defendant Tiger Global Management, LLC         LLC et al, No. 1:23-cv-20700-JEM (S.D.
O’Keefe v. Sequoia Capital Operations,         Fla)
LLC et al, No. 1:23-cv-20700-JEM (S.D.
Fla)
        Case CAN/3:22-cv-07444 Document 3-1 Filed 03/03/23 Page 12 of 12


Via U.S. Mail                             Via U.S. Mail

Silicon Valley Center                     Attn: SBGI Legal
801 California Street                     1 Circle Star Way, 4F
Mountain View, CA 94041                   San Carlos, CA 94070

Defendant Fenwick & West LLP              Defendant Softbank Group Corp.
O’Keefe v. Sequoia Capital Operations,    O’Keefe v. Sequoia Capital Operations,
LLC et al, No. 1:23-cv-20700-JEM (S.D.    LLC et al, No. 1:23-cv-20700-JEM (S.D.
Fla)                                      Fla)
